Case 1:19-cr-20141-JLK Document 76 Entered on FLSD Docket 08/16/2020 Page 1 of 5



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

 UNITED STATES OF AMERICA,                                    CASE NO. 19-CR-20141-JLK-2

                Plaintiff,

 vs.

 VICTOR ROJAS,

             Defendant,
 ______________________________/

                      DEFENDANT, VICTOR ROJAS’
   NOTICE OF FILING TWO ADDITIONAL CORRESPONDENCE IN SUPPORT OF
           DEFENDANT’S MOTION FOR A DOWNWARD VARIANCE
            PURSUANT TO THE TITLE 18 U.S.C. §3553(a) FACTORS

        COMES NOW the Defendant, VICTOR ROJAS, by and through her undersigned

 counsel, and presents herewith, his Notice of Filing Two Additional Correspondence in Support

 of Defendant’s Motion for a Downward Variance pursuant to the Title 18 U.S.C. §3553(a) Factors,

 and states as follows:

        ● Attached hereto is correspondence to the Court from Gloria Urbana Bascope, the
          Defendant’s mother, and

        ● Attached hereto is correspondence to the Court from Maria del Rosario Rojas, the
          Defendant’s sister.

                                                    Respectfully submitted,

                                                    Ana M. Davide, Esq.
                                                    Florida Bar No. 875996
                                                    2929 SW 3rd Ave., Suite 420
                                                    Miami, Florida 33129
                                                    Telephone: (305) 854-6100
                                                    Fax: (305) 854-6197
                                                    E-mail: ana@anadavidelaw.com
                                                    (Counsel for Defendant, Victor Rojas.)

                                                    /s/ Ana M. Davide_____
                                                    Ana M. Davide, Esq.
Case 1:19-cr-20141-JLK Document 76 Entered on FLSD Docket 08/16/2020 Page 2 of 5



                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 16th day of August, 2020, I electronically filed the

 foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

 document is being served this day on all counsel of record or pro se parties identified on the

 attached service List in the manner specified, either via transmission of Notices of Electronic Filing

 generated by CM/ECF or in some other authorized manner for those counsel or parties who are

 not authorized to receive electronically Notices of Electronic Filing.

                                                       Ana M. Davide, Esq.
                                                       Florida Bar No. 875996
                                                       2929 SW 3rd Ave., Suite 420
                                                       Miami, Florida 33129
                                                       Telephone: (305) 854-6100
                                                       Fax: (305) 854-6197
                                                       E-mail: ana@anadavidelaw.com
                                                       (Counsel for Defendant, Victor Rojas.)

                                                       /s/ Ana M. Davide_____
                                                       Ana M. Davide, Esq.

                                        SERVICE LIST
                            United States of America v. Victor Rojas
                                 Case No. 19-CR-20141-JLK-2
                   United States District Court, Southern District of Florida
 Timothy J. Abraham, A.U.S.A.
 United States Attorney's Office
 Southern District of Florida
 99 NE 4th Street
 Miami, FL 33132
 Telephone: (305) 961-9438
 Fax: (305) 536-7599
 Email: Timothy.Abraham2@usdoj.gov

 Daren Grove, A.U.S.A.
 United States Attorney’s Office
 Southern District of Florida
 99 NE 4th Street
 Miami, FL 33132
 Tele: (954) 660-5774
 Email: daren.grove@usdoj.gov
                                                   2
Case 1:19-cr-20141-JLK Document 76 Entered on FLSD Docket 08/16/2020 Page 3 of 5



 Ana Brzica
 United States Probation Officer
 United States Probation Office
 Wilkie D. Ferguson, Jr. U.S. Courthouse
 400 North Miami Avenue, 9th Floor South
 Miami, Florida 33128
 Telephone: (305) 523-5361
 E-mail: ana_brzica@flsp.uscourts.gov




                                           3
Case 1:19-cr-20141-JLK Document 76 Entered on FLSD Docket 08/16/2020 Page 4 of 5



 Senior Judge James Lawrence King

 Dear Judge King,

 My name is Gloria Urbana Bascope and I am 82 years old. I am the mother of Víctor
 Rojas, my sixth child out of seven siblings, who has always been an exemplary, noble,
 helpful, hard-working son with good feelings towards his family and his neighbors. At
 school he was a good student and well-behaved. Since he was a child he was always
 responsible and eager to help. He started to work at the age of 12 selling newspapers
 and later became a construction assistant. 30 years ago he traveled to the United
 States loaded with dreams and hoping for a better life.

 While in the USA he thought of me and his sibilings including his nephews and nieces
 always trying to help in whatever way he could. He helped to pay part of the university
 of two of his nieces so they could finish their studies and the school to one of his
 nephews. He had two wonderful daughters and supported both of them in their studies.
 The eldest studies nutrition in the university and the minor studies in high school and at
 the same time in another art school. Victor worked 15 hours a day in two different jobs
 in the U.S. He was a car parker where he was promoted as Manager for his excellent
 performance and his second job was as a taxi driver for the UBER company. He worked
 in order to maintain his home, pay the mortgage of the house and his daughters'
 studies.
 He spent THREE DECADES AND A WHOLE LIFE OF STRUGGLE, effort and sacrifice
 trying to be a good person and an exemplary citizen who paid his taxes in the U.S.
 My son was never in prison before, he doesn't have a criminal record in Bolivia nor in
 the United States. I know he is repentant and surrendered to God asking him to forgive
 his sins.

 As his mother, it breaks my heart and soul to see him in this situation. I feel that what is
 happening to my son is not fair after all the sacrifices he's been through to give his
 daughters a better life. A lifetime of effort and of giving to the community is on the brink
 of destruction because of a mistake. Your honor, on my knees I ask you for mercy for
 my son. I beg you for a minimum sentence. I trust that, with your heart and experience,
 the final decision will be fair.

 God bless you

 Sincerely,

 Gloria Urbana Bascope
Case 1:19-cr-20141-JLK Document 76 Entered on FLSD Docket 08/16/2020 Page 5 of 5



 US District Court
 Southern District of Florida

 Senior Judge James Lawrence King

 My name is Maria del Rosario Rojas and my brother is Victor Rojas. Victor is my dearest
 sibling. He has always been eager to help his family, friends and even strangers. He has been an
 excellent brother, a thoughtful father and uncle, and an exceptional friend. A kind-hearted human
 being.

 Victor helped his cousin Amparo who suffered a cancer called mesothelioma. When she had a
 respiration attack she recurred to Victor, he called 911 and went with her to the hospital. She was
 swiftly taken care of. The doctor told them that if they had waited 10 more minutes it would have
 been too late. He saved her life. This was not the only time he did something like this. In 2001
 Victor visited Bolivia. At the time I was enduring a complicated pregnancy that caused
 nosebleed. My brother took me to the hospital and took care of me. I must say that I did not have
 any support from the father of my daughter neither economically nor emotionally. My brother
 was with me until the time I entered into labor bringing me cake and my favorite juice. I named
 my daughter "Victoria" after him. Victor also had a Puerto Rican friend who had cancer, the
 family of this man left him and refused to support him. Victor assumed the role his family should
 have had accompanying him to chemotherapy and helping him buy his weekly groceries. When
 his condition deteriorated more, my brother took him to the hospital where he was for two years.
 My brother stood by him until his last day of life--Victor's closest family can confirm
 this. Although good, my brother can be naive. In 1996 Victor started sending money to our
 brother Ruben for five years every month so he would invest it in a property. In 2001, Victor
 asked Ruben for his money back to which Ruben responded that if he wanted his money back
 Victor would lose his brotherhood.

 When I was 16 and Victor 13, my father had a stroke which left him with half of his body
 paralyzed for more than three years. Victor and I were the only ones who attended him until his
 last days.

 As duly noted, Victor has been through thick and thin with the people he appreciated and loved
 and even with the ones he didn’t have a direct connection with. It is because of this that finding
 out that my brother Victor was in jail has been one of the most emotionally devastating shocks of
 my life. Notwithstanding, the only thought that crossed my mind when told was that he had been
 deceived. I think that there are extremely few people that genuinely care for other humans asking
 nothing on exchange and Victor is one of them. I also believe that this rare kind of people
 deserve a second chance to redeem themselves. This being said, I trust that with your heart and
 experience the sentence will be fair. But before you make the final decision, I beg of you, your
 Honor, to ask Victor to come closer so Your Honor can look into his eyes and see the true colors
 of his noble soul.

  Sincerely,

 Maria del Rosario Rojas
